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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                          §
     Plaintiff/Respondent,                         §
                                                   §
V.                                                 §           CR. No. C-07-398(2)
                                                   §           (C.A. No. 13-CV-92)
FELIX JAIMES-VALDEZ                                §
     Defendant/Movant.                             §

                                              ORDER

       Pending before the Court is Defendant Felix Jaimes-Valdez’ motion to alter or amend

the judgment dismissing his motion to vacate, set aside or correct sentence pursuant to 28

U.S.C. § 2255 (D.E. 339) as second or successive. D.E. 350.

       Jaimes-Valdez’ motion to alter or amend the judgment claims that this Court should

not have dismissed his previous § 2255 motion as second or successive because he could not

have brought his claims until after the decisions in Missouri v. Frye,1 and Lafler v. Missouri.2

Even if his analysis was correct,3 Jaimes-Valdez was still required to obtain a certificate of

appealability from the Fifth Circuit before this Court could consider his motion on the merits.




       1
           — U.S. ----. 132 U.S. 1399 (2012).
       2
           — U.S. ----, 132 U.S. 1376 (2012).
       3
            “We have previously held, and now reiterate, that Frye did not announce a new rule of
constitutional law because it ‘merely applied the Sixth Amendment right to counsel to a specific
factual context.’” Miller v. Thaler, — F.3d —, 2013 WL 1830850 at *4 (5th Cir., May 1, 2013)
(citing In re King, 697 F.3d 1189, 1189 (5th Cir .2012)); accord United States v. Havens, 450 Fed.
App’x 363, 364 (5th Cir., Nov. 16, 2011) (per curiam) (designated unpublished) (“We have held that
‘failing to inform the defendant of a plea offer could amount to ineffective assistance of counsel.’”).
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 28 U.S.C. § 2255(h). Because Jaimes-Valdez did not furnish the Court with a certificate

of appealability, his § 2255 motion was properly dismissed.

      For the foregoing reasons, Jaimes-Valdez’ motion to alter or amend the judgment

(D.E. 350) is DENIED

      Ordered this 13th day of May 2013.




                                               HAYDEN HEAD
                                         SENIOR U.S. DISTRICT JUDGE




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